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                            TENTH COURT OF APPEALS

Chief Justice
    Tom Gray

Justice
     Rex D. Davis
     Al Scoggins

                          McLennan County Courthouse
                         501 Washington Avenue, Rm 415
                            Waco, Texas 76701-1373
            Phone: (254) 757-5200              Fax: (254) 757-2822



                    Clerk
     Sharri Roessler
                                       
                               January 22, 2015
                                       


In accordance with the enclosed Memorandum Opinion, below is the judgment in the numbered cause set out herein to be entered in the Minutes of this Court as of the 22[nd] day of January, 2015.

10-14-00321-CV	IN THE INTEREST OF H.J.Y.S., A CHILD - ON APPEAL FROM THE 361[ST] DISTRICT COURT OF BRAZOS COUNTY - TRIAL COURT NO. 12-003150-CV-361  -  DISMISSED - Memorandum Opinion by Justice Scoggins:

"This cause came on to be heard on the motions of co-appellants, the Texas Department of Family and Protective Services and Frederica Antonio Yax-Sic, to dismiss this appeal, and the same being considered, because it is the opinion of the Court said motions should be granted; it is therefore ordered, adjudged and decreed that said motions be, and hereby are, granted.  It is further ordered, adjudged and decreed that this appeal be, and hereby is, dismissed.  It is further ordered that appellants pay all costs in this behalf expended and that this decision be certified below for observance."
